         Case 1:20-cv-00074-SPW Document 109 Filed 05/25/21 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION



 UNITED STATES OF AMERICA,                         CV 20-74-BLG-SPW


                  Plaintiff,
   V.                                              ORDER


 LARRY WAYNE PRICE,JUNIOR,


                  Defendant.



 THREE BLIND MICE,LLC,

                  Intervenor Defendant.



        It has recently come to the Court's attention that a Motion to Amend the

Preliminary Injunction Order has been pending in the above-entitled matter since

May 7,2019.(Doc. 88). Given the amount oftime pending and the proceedings of

the Defendant's related criminal cases, the Court is requesting a joint status report

on the Motion. Therefore,

        IT IS HEREBY ORDERED that counsel for the named parties shall

submit a status report on the pending Motion to Amend within 30 days ofthe entry

ofthis Order.
Case 1:20-cv-00074-SPW Document 109 Filed 05/25/21 Page 2 of 2
